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                          UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

TRAXXAS LP                                 §
                                           §
       Plaintiff,                          §
                                           §   Civil Action No. 2:14-cv-1005
v.                                         §
                                           §
HOBBYKING CORP. d/b/a                      §
HOBBYKING and HOBBYKING.COM,               §
and HOBBYKING USA LLC,                     §
                                           §
       Defendants.                         §

                    STIPULATED PERMANENT INJUNCTION ORDER

       Upon consideration of the Parties’ Motion for Entry of Stipulated Permanent Injunction

Order (“Motion”), the Court GRANTS the Motion.

       IT IS THEREFORE ORDERED that Defendants HobbyKing Corp. d/b/a HobbyKing

and HobbyKing.com and ABC Fulfillment Services LLC f/k/a HobbyKing USA LLC and

HobbyKing.com (“Defendants” or “HobbyKing”), their representatives, agents, servants,

employees, and anyone for whom Hobby King may be legally responsible, is permanently

enjoined from performing the following actions with respect to its products: (1) Mega-Adapter

(Product ID: MF_adapters); (2) Traxxas style Plug Male and Female (Product ID: AM-

1015Cx10); (3) Traxxas Male to T Plug Female (Product ID: 258000130-0 and Product ID: AM-

1015Cx10); (4) Male Traxxas <-> Female XT60 (Product ID: 604A-601B); (5) EC3 Female −

Traxxas Male (Product ID: EC3-F-TRA-M); (6) Traxxas Male - Tamiya Female (Product ID:

TRA-M─TAM-F); (7) Traxxas Plug Male (Product ID: TRA-M-WIR); (8) Traxxas plug Harness

for 2S Hardcase Lipo (Product ID: 604BCC-HCLB); (9) Female Traxxas <-> Male XT60

(Product ID: 604B-601A); (10) EC3 Male − Traxxas Female (Product ID: EC3-M-TRA-F); (11)
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    Traxxas Plug Female (Product ID: TRA-F-WIR); (12) Traxxas Female − Tamiya Male (Product

    ID: AM-8012); (13) electrical connectors for batteries for product ID: 9210000008 and

    9210000009; and (14) Traxxas style Plug Male and Female (Product ID: AM-1015Cx10), and

    any other Traxxas style connector reasonably similar to the plugs or connectors used in those

    products (collectively “ HobbyKing Accused Products”) during the terms of any or all of U.S.

    Patent Nos. 7,374,460 (the “’460 patent”), 7,530,855 (the “’855 patent”), 7,867,038 (the “’038

    patent), and D573,536 (the “’536 patent”):

           1. selling, offering to sell, and/or importing in or into the United States any of the

               HobbyKing Accused Products;

           2. using any HobbyKing Accused Products;
.
           3. instructing or encouraging anyone to use any HobbyKing Accused Products;

           4. providing support or assistance to anyone that describes how to use any HobbyKing

               Accused Products; and

           5. testing, demonstrating or marketing any HobbyKing Accused Products.

           This injunction is effective from the date the Order is entered.


      SIGNED this 19th day of December, 2011.
     So ORDERED and SIGNED this 29th day of February, 2016.




                                                         ____________________________________
                                                         RODNEY GILSTRAP
                                                         UNITED STATES DISTRICT JUDGE




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